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Andrew Muscato
Of Counsel:
Jay B. Kasner
Kurt Wm. Hemr
SKADDEN, ARPS, SLATE,
   MEAGHER & FLOM LLP
(A Delaware Limited Liability Partnership)
Four Times Square
New York, New York 10036
Tel: (212) 735-3000
Fax: (212) 735-2000

Attorneys for Defendant AXA Equitable
Life Insurance Company

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

---------------------------------x
-
ARLENE      SHUSTER, on behalf of herself and
all others similarly situated,                :

                              Plaintiff,        :     Civil Action No.______________________

                v.                              :     (State Court Docket No. L-4485-14
                                                      (Camden County))
AXA EQUITABLE LIFE INSURANCE                    :
COMPANY,                                              NOTICE OF REMOVAL
                                                :
                      Defendant.
---------------------------------x
-
TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
     FOR THE DISTRICT OF NEW JERSEY

       PLEASE TAKE NOTICE that Defendant AXA Equitable Life Insurance Company

("Defendant" or "AXA Equitable"), with its principal place of business at 1290 Avenue of the

Americas, New York, New York 10104, through its undersigned counsel, hereby removes the

above-captioned action brought by Plaintiff Arlene Shuster, who alleges that she is a resident of

Cherry Hill, New Jersey, from the Superior Court of New Jersey, Law Division, Camden County

to the United States District Court for the District of New Jersey, pursuant to 28 U.S.C. § 1446
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and the removal provision of the Securities Litigation Uniform Standards Act of 1998

("SLUSA"), 15 U.S.C. § 78bb(f)(2).

       In support of this Notice of Removal, Defendant states as follows:

                                   BASIS FOR REMOVAL

       1.      On November 17, 2014, Plaintiff Arlene Shuster commenced this purported class

action in the Superior Court of New Jersey, Law Division, Camden County. Pursuant to 28

U.S.C. § 1446(a) and Local Civil Rule 5.2, a true and correct copy of the Summons and

Complaint is attached hereto as Exhibit 1.1

       2.      Plaintiff purports to represent a nationwide class of AXA Equitable variable life

insurance policy holders whose account value was invested in SEC-registered investment trusts

that employed a "volatility management" investment strategy. (See Compl. (Ex. 1), ¶ 2.)

       3.      As explained infra (¶¶ 20-35), Plaintiff's claim alleges "a misrepresentation … of

a material fact in connection with the purchase or sale of a covered security," 15 U.S.C.

§ 78bb(f)(1)(A), as well as a "manipulative or deceptive device or contrivance," 15 U.S.C.

§ 78bb(f)(1)(B). Her claim is therefore removable under the removal provision of the Securities

Litigation Uniform Standards Act of 1998 ("SLUSA"), 15 U.S.C. § 78bb(f)(2).

       4.      Pursuant to 15 U.S.C. § 1446(d), a copy of this Notice of Removal will be filed

promptly with the Clerk of the Superior Court of New Jersey, Law Division, Camden County

and served upon counsel for Plaintiff.




1
    Also attached hereto as Exhibit 2 is a true and correct copy of the docket of the Superior
    Court of New Jersey, Law Division, Camden County in this action. Also attached hereto as
    Exhibit 3, pursuant to 28 U.S.C. § 1446(a), is a true and correct copy of an Affidavit of
    Service filed in this action with that same court on December 4, 2014.


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                         PERTINENT PROCEDURAL BACKGROUND

                   Counsel Representing Plaintiff Here Have Previously Filed
               Three Class Actions Addressing The Same Threshold Legal Issues,
              One Of Which Is Now Pending In The Southern District Of New York

       5.        Lowey Dannenberg Cohen & Hart, P.C. (“Lowey Dannenberg”) — a law firm

located in White Plains, New York — is counsel for Plaintiff in this action. This action (the

"Shuster action") is the fourth putative class action commenced in 2014 by Lowey Dannenberg

concerning AXA Equitable variable life insurance products.

       6.        In May 2014, Lowey Dannenberg commenced two putative class actions in the

Southern District of New York on behalf of holders of AXA Equitable variable annuities:

       (i)       On May 2, 2014, Lowey Dannenberg commenced a putative class action on
                 behalf of a New York resident, captioned as Zweiman v. AXA Equitable, 14-cv-
                 3128 (VSB) (DCF) ("Zweiman I").

       (ii)      On May 15, 2014, Lowey Dannenberg commenced a second putative class action,
                 this time on behalf of a New Jersey resident, captioned as Swallow v. AXA
                 Equitable, 14-cv-3505 (VSB) (DCF).

       7.        At about that same time, two other putative class actions substantially similar to

Zweiman I and Swallow were also commenced in the Southern District of New York by other

holders of AXA Equitable variable annuities.2

       8.        The complaints in all four of those actions asserted that the district court had

subject matter jurisdiction over those actions under the Class Action Fairness Act ("CAFA"), 28

U.S.C. §§ 1332(d) and 1453. All four actions were assigned to the Hon. Vernon S. Broderick of

the Southern District of New York.

       9.        On June 16, 2014, AXA Equitable informed Judge Broderick of its intent to move

to dismiss the four actions for lack of subject matter jurisdiction, for the reason that the variable

2
    The other two being O'Donnell v. AXA Equitable, 14-cv-2209 (VSB) (DCF), and Cabral v.
    AXA Equitable, 14-cv-3715 (VSB) (DCF), both in the Southern District of New York.


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annuity contracts at issue in those actions were "covered securities" within the meaning of

SLUSA and thus fell within an exception to CAFA's grant of jurisdictional authority.3 Having

been so apprised, all four plaintiffs voluntarily dismissed their actions on June 19, 2014.4

       10.     On that same date, Lowey Dannenberg, together with counsel for plaintiffs in the

other two actions, filed yet another putative class action against AXA Equitable, again on behalf

of Jessica Zweiman but this time in New York state court under the caption Jessica Zweiman,

Executrix of the Estate of Anne Zweiman, on behalf of herself and all others similarly situated v.

AXA Equitable Life Insurance Company ("Zweiman"). A copy of the Zweiman complaint is

attached hereto as Exhibit 4.

       11.     On July 3, 2014, Defendant AXA Equitable filed a Notice of Removal in the

Southern District of New York to remove Zweiman from state court to federal court pursuant to

the removal provision of SLUSA, 15 U.S.C. § 78bb(f)(2). (A copy of that Notice of Removal is

attached hereto as Exhibit 5.)

       12.     On July 21, 2014, following assignment of the removed Zweiman action to Judge

Broderick as related to the four previously-filed and voluntarily dismissed federal actions, AXA

Equitable informed the court of its intention to move to dismiss the action on the ground that the

claim asserted therein was precluded by SLUSA, and on other grounds. At Zweiman's request,

Judge Broderick directed that AXA Equitable present a motion to dismiss in Zweiman based




3
    O'Donnell, 14-cv-2209 (VSB) (DCF), D.E. 16.
4
    O'Donnell, 14-cv-2209 (VSB) (DCF), D.E. 17; Zweiman I, 14-cv-3505 (VSB) (DCF), D.E.
    12; Swallow, 14-cv-3505 (VSB) (DCF), D.E. 7; Cabral, 14-cv-3715 (VSB) (DCF), D.E. 11.


                                                 4
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only on SLUSA preclusion grounds, and deferred consideration of any other grounds for

dismissal.5

       13.      On July 30, 2014, Zweiman filed a motion to remand that action to state court,

contending that her action was not governed by SLUSA.

       14.      The parties in Zweiman completed briefing on the motions to dismiss and to

remand on September 25, 2014.6 Those motions are now sub judice.

                  The Newly-Filed Shuster Action Is Substantially Similar To
              The Zweiman Action Pending In The Southern District Of New York

       15.      The Zweiman and Shuster complaints make many of the same allegations, except

that where Zweiman purports to represent a class of variable annuity holders, Shuster purports to

represent a class of variable life insurance policy holders.

       16.      Variable annuities and variable life insurance policies are "'hybrid products,'

possessing characteristics of both insurance products and investment securities." Lander v.

Hartford Life & Annuity Ins. Co., 251 F.3d 101, 105 (2d Cir. 2001) (holding that variable

annuities are "covered securities" under SLUSA). The account values of variable annuities (the

product at issue in Zweiman) and variable life insurance policies (the product at issue in Shuster)

are invested in separate accounts maintained by AXA Equitable that are registered with the U.S.

Securities & Exchange Commission. Investors in those variable life insurance products may




5
    Zweiman, 14-cv-5012 (VSB)(DCF), D.E. 25, at 18:16-24.
6
    Zweiman, 14-cv-5012 (VSB)(DCF), D.E. 11 (AXA Equitable's letter to Judge Broderick
    stating intent to move to dismiss); D.E. 16-18 (plaintiff's motion to remand); D.E. 27-29
    (AXA Equitable's opposition to motion to remand and cross-motion to dismiss); D.E. 30
    (plaintiff's reply in support of motion to remand and opposition to cross-motion to dismiss);
    D.E. 31 (AXA Equitable's reply in support of motion to dismiss). A copy of the docket in
    Zweiman is attached hereto as Exhibit 6.


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allocate the account value of those products among investments within the separate accounts

similar to mutual funds.

       17.     The Zweiman and Shuster complaints both address the use of a "volatility

management" investment strategy in certain portfolios of those separate accounts. Those

portfolios were designed to track well-known equity market indexes except during periods of

high volatility, when the portfolio's holdings would be managed to limit equity exposure to the

index. This investment strategy of reducing exposure to the market in times of high volatility is

generally known as "volatility management" (and is referred to in Zweiman as the "ATM

Strategy").

       18.     The Zweiman and Shuster complaints both assert breach of contract claims

contending that (i) AXA Equitable implemented a volatility management investment strategy;

(ii) that investment strategy was implemented in violation of New York law, for the reason that

AXA Equitable made misleading filings concerning that strategy with the New York Department

of Financial Services (“DFS”); (iii) AXA Equitable had contractually promised to comply with

applicable law; (iv) AXA Equitable’s purported violation of law constitutes a breach of that

contractual promise; and (v) plaintiff has suffered damages which may be measured by the

diminished investment returns purportedly flowing from the use of that investment strategy:

                  Zweiman alleges …                          … Shuster likewise alleges:

 (i) "Sometime between 2009 and 2011 — after         "In 2009, 2010, and 2011, AXA began
     plaintiff's purchase of the variable            implementing a volatility-management
     annuity — AXA began implementing the            strategy in certain investment funds (the
     ATM Strategy for the sole purpose of            'Affected Funds') offered to Plaintiff and
     reducing AXA's exposure to market               other holders of variable life insurance."
     volatility …" (Ex. 4, ¶ 11.)                    (Compl. (Ex. 1), ¶ 17.)




                                                6
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                   Zweiman alleges …                           … Shuster likewise alleges:

(ii) "As found by the DFS, … AXA violated              "The DFS found that AXA violated N.Y.
     New York law in connection with its               Ins. Law § 4240(e) in connection with its
     implementation of the ATM Strategy. See           implementation of the volatility-
     Consent Order dated March 17, 2014,               management strategy. See Consent Order
     submitted herewith as Exhibit A." (Ex. 4,         dated March 17, 2014, submitted herewith
     ¶ 13.)                                            as Exhibit B." (Compl. (Ex. 1), ¶ 29.)

(iii) "In its contracts with plaintiff and the other   "Plaintiff's Contract provides that AXA
      members of the Class, AXA covenanted             would comply with all applicable laws,
      that it would comply with all applicable         including New York law in operating the
      laws, including New York law." (Ex. 4,           Separate Account and investment divisions
      ¶ 13.)                                           comprising the Separate Account." (Compl.
                                                       (Ex. 1), ¶ 20.)

(iv) "AXA breached the terms of the variable           "AXA breached the terms of the variable
     deferred annuities held by plaintiff and the      life insurance policies held by Plaintiff and
     Class by implementing the ATM Strategy in         the Class by implementing the volatility-
     violation of New York law." (Ex. 4, ¶ 20.)        management strategy without obtaining
                                                       prior approval of the N.Y. Superintendent of
                                                       Insurance, in violation of N.Y. Ins. Law
                                                       § 4240(e)." (Compl. (Ex. 1), ¶ 37.)

(v) "[D]uring the period 2010 through 2012,            "AXA's implementation of the volatility-
    there was a sharp divergence in                    management strategy reduced the returns of
    performance between two equivalent                 the Affected Funds held by Plaintiff and the
    investments that was attributable to the use       other members of the Class. The charts
    of the ATM Strategy. Specifically, the             below demonstrate the volatility-
    investment without the ATM Strategy                management strategy's impact on the
    generated approximately 11.5 percent               Affected Funds compared to benchmarks
    higher returns during this period than the         used by AXA based on a hypothetical
    investment that utilized the ATM Strategy."        $10,000 investment during the period of
    (Ex. 4, ¶ 5.)                                      2010 through 2012." (Compl. (Ex. 1),
                                                       ¶¶ 30-31.)

       19.     Because of the common allegations in the Shuster and Zweiman complaints, the

Shuster action is also subject to removal under SLUSA for the same reasons as the Zweiman

action. (See ¶¶ 20-35 infra.) The arguments of counsel regarding the application of SLUSA to

the claim asserted by this Plaintiff have already been fully briefed in the Southern District of

New York in motions that are sub judice. Accordingly, to avoid the inconsistency and

inefficiency that could result from duplicative litigation of the same threshold legal issues in two


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courts, Defendant will promptly move this Court to transfer the Shuster action to the Southern

District of New York pursuant to 28 U.S.C. § 1404(a).

                 PLAINTIFF'S ACTION IS REMOVABLE UNDER SLUSA

       20.     SLUSA, codified in the Securities Exchange Act of 1934 at 15 U.S.C. § 78bb(f),

promotes the uniform application of federal disclosure standards for securities, including by

providing for the removal to federal court of certain putative class actions asserting claims

involving "covered securities." See generally Merrill Lynch, Pierce, Fenner & Smith Inc. v.

Dabit, 547 U.S. 71, 82-84 (2006) ("Dabit").

       21.     Specifically, SLUSA provides that "[a]ny covered class action brought in any

State court involving a covered security, as set forth in paragraph (1), shall be removable to the

Federal district court for the district in which the action is pending." 15 U.S.C. § 78bb(f)(2); see

Dabit, 547 U.S. at 83 n.7; Rowinski v. Salomon Smith Barney Inc., 398 F.3d 294, 299 (3d Cir.

2005). For the reasons set forth below, the Shuster action is a "covered class action … involving

a covered security" within the scope of paragraph (1) of that subsection, 15 U.S.C. § 78bb(f)(1),

and therefore removal to this United States District Court is proper.

                          Plaintiff's Action Is A Covered Class Action

       22.     SLUSA defines a "covered class action" as:

       [A]ny single lawsuit in which … one or more named parties seek to recover
       damages on a representative basis on behalf of themselves and other unnamed
       parties similarly situated, and questions of law or fact common to those persons or
       members of the prospective class predominate over any questions affecting only
       individual persons or members.

15 U.S.C. § 78bb(f)(5)(B)(i)(II).

       23.     The Shuster action is alleged to be a covered class action. Plaintiff seeks to

recover damages on a representative basis for herself and others similarly situated and alleges

that "[t]he Class is so numerous that joinder of all members is impracticable." (Compl. (Ex. 1),


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¶ 33(a).) The Complaint also alleges that common questions of law or fact predominate over

individual questions. (Compl. (Ex. 1), ¶ 34.) Significantly, Plaintiff's counsel in Zweiman

acknowledged that the Zweiman action was a covered class action under SLUSA.7

       24.     The Shuster action also falls within the scope of 15 U.S.C. § 78bb(f)(1), because,

for the reasons discussed infra, it must be read to allege both:

       (A)     a misrepresentation or omission of a material fact in connection with the
               purchase or sale of a covered security; [and]

       (B)     that the defendant [AXA Equitable] used or employed any manipulative or
               deceptive device or contrivance in connection with the purchase or sale of
               a covered security.

                       Plaintiff's Action Concerns A "Covered Security"

       25.     The Shuster action concerns a covered security, i.e., a variable life insurance

policy. See Securities Act Release No. 33-5360, [1972-1973 Decisions] Fed. Sec. L. Rep

(CCH), at *4 ("[T]he Commission has determined that a variable life contract would be a

security."); Roth v. Am. Family Mut. Ins. Co., 567 F.3d 884, 886 (7th Cir. 2009) (explaining that

variable life insurance policies are securities); Herndon v. Equitable Variable Life Ins. Co., 325

F.3d 1252, 1255 (11th Cir. 2003) (per curiam) (holding that a variable life insurance policy is a

"covered security" under SLUSA). Likewise, Plaintiff's counsel in Zweiman acknowledged that

the variable annuity at issue in that case was a covered security under SLUSA.8

       26.     Investors in variable life insurance policies may allocate their account value

among investments similar to mutual funds, and thereafter may reallocate their account value

from time to time. A variable life insurance policy holder's allocation of his or her contract value

to those various investment options causes units of an SEC-registered separate account to be

7
    Zweiman, D.E. 17, at 7.
8
    Zweiman, D.E. 17, at 7.


                                                  9
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 invested in SEC-registered investment companies. (See Compl. (Ex. 1), Ex. A, p. 11 ("Amounts

 allocated, transferred or added to an investment division of our [separate account] are used to

 purchase units of that division …").) Those units are also "covered securities." In re Mut. Funds

 Inv. Litig., 437 F. Supp. 2d 349, 443-44 (D. Md. 2006), aff'd, 309 F. App'x 722 (4th Cir.), cert.

 denied sub nom. Wiggenhorn v. AXA Equitable Life Ins. Co., 558 U.S. 817 (2009). Plaintiff's

 counsel in Zweiman did not dispute that that those units are a covered security under SLUSA.9

              Plaintiff's Action Alleges A "Misrepresentation Or Omission Of
     A Material Fact In Connection With The Purchase Or Sale Of A Covered Security"

        27.     The Third Circuit has held that regardless of the particular language that a

 plaintiff uses to plead an action, that action is removable pursuant to SLUSA if it is a covered

 class action alleging "a misrepresentation or omission of a material fact in connection with the

 purchase or sale of a covered security":

        SLUSA stands as an express exception to the well-pleaded complaint rule, and its
        preemptive force cannot be circumvented by artful drafting. In this context —
        where Congress has expressly preempted a particular class of state law claims —
        the question is not whether a plaintiff pleads or omits certain key words or legal
        theories, but rather whether a reasonable reading of the complaint evidences
        allegations of "a misrepresentation or omission of a material fact in connection
        with the purchase or sale of a covered security."

 Rowinski, 398 F.3d at 304. The Third Circuit explained that although the plaintiff in Rowinski

 "scrupulously avoid[ed] pleading [certain] words … a reasonable reading of the complaint …

 establishes that the elements of SLUSA preemption are satisfied." Id. at 304-05. The

 applicability of SLUSA thus "does not turn on whether allegations are characterized as facts or

 as essential legal elements of a claim, but rather on whether the SLUSA prerequisites are

 'alleged' in one form or another." Id. at 300. Here, even though Plaintiff "scrupulously avoid[ed]

 pleading" the words "misrepresentation," "omission," or "manipulative or deceptive device," a

 9
     See Zweiman, D.E. 31, at 7.


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 "reasonable reading of [her] complaint . . . establishes that the elements of SLUSA preemption

 are satisfied." Id. at 304-05.

         28.     Plaintiff's variable life insurance policy, like the variable annuity contract in

 Zweiman, requires notification to policy holders in the event of a material change in the

 investments of the separate account in which the policy's account value is invested. (Compl.

 (Ex. 1), Ex. A, at 15 ("If any of these changes result in a material change in the underlying

 investments of an investment division of our [separate account], we will notify you of such

 change, as required by law.").) Plaintiff's Complaint alleges that AXA Equitable changed the

 investment policy in the separate account in which her policy's account value was invested.

 (Compl. (Ex. 1), ¶¶ 26-27.) To the extent that Plaintiff seeks to allege that AXA Equitable

 breached her policy's notification provision by failing to inform her of that change in investment

 policy, thereby causing her to hold units of the separate account that she otherwise might have

 sold, she alleges "a misrepresentation or omission of a material fact in connection with the

 purchase or sale of a covered security." 15 U.S.C. § 78bb(f)(1)(A); Dabit, 547 U.S. at 75, 86

 ("holder" class actions precluded by SLUSA). Plaintiff's counsel expressly alleged a breach of

 that notification provision in the Zweiman I and Swallow actions.10 See Rowinski, 398 F.3d at

 304 ("the question is not whether a plaintiff pleads or omits certain key words or legal theories").

         29.     Plaintiff also pleads a "misrepresentation or omission" when she alleges that

 "AXA presented the volatility-management strategy as a 'routine' matter in its filing to the

 [DFS]." (See Compl. (Ex. 1), ¶ 28 (emphasis added).) Those allegations are an essential

 "factual predicate" of her claim: Plaintiff asserts that AXA Equitable breached her contract by

 failing to present a new investment strategy to the DFS accurately, allegedly in violation of New


 10
      Zweiman I, D.E. 2, ¶¶ 60(c), 68(d); Swallow, D.E. 2, ¶¶ 60(c), 68(d).


                                                   11
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 York law. Rowinski, 398 F.3d at 300 ("Where, as here, allegations of a material

 misrepresentation serve as the factual predicate of a state law claim, the misrepresentation prong

 is satisfied under SLUSA.").

         30.     Plaintiff's Complaint further alleges that those purported misrepresentations were

 "in connection with the purchase or sale of a covered security." 15 U.S.C. § 78bb(f)(1)(A). In

 its recent decision in Chadbourne & Parke LLP v. Troice, 134 S. Ct. 1058, 1066 (2014), the

 Supreme Court observed that "a connection matters where the misrepresentation makes a

 significant difference to someone's decision to purchase or to sell a covered security." Plaintiff

 makes precisely that allegation here.

         31.     In particular, Plaintiff appends as Exhibit B to her Complaint a Consent Order

 entered into between the DFS and AXA Equitable, in which the DFS stated:

         The absence of detail and discussion in [AXA Equitable's] filings [with the DFS]
         regarding the significance of the implementation of the ATM Strategy had the
         effect of misleading the Department regarding the scope and potential effects of
         the ATM Strategy on the relevant funds and the possible consequences for
         policyholders.

         DFS approved the filings because it was led to believe that the changes were
         merely routine additions of funds and similar alterations. … Had the Department
         been aware of the extent of the changes, it may have required that the existing
         policyholders affirmatively opt in to the ATM Strategy.

 (Compl. (Ex. 1), Ex. B, ¶¶ 8-9 (emphasis added).)11

         32.     The Consent Order on which Plaintiff relies and has made part of her Complaint12

 thus asserts that had AXA Equitable not made those purportedly "misleading" filings with the




 11
      The Consent Order expressly states that it "contains DFS's findings" — which AXA
      Equitable did not admit — "and the relief agreed to by DFS and AXA Equitable." (Compl.
      (Ex. 1), Ex. B, at 2.) AXA Equitable does not adopt the findings of the Consent Order, but
      references them here only for purposes of showing the nature of Shuster's purported claim,
      and reserves all of its rights with respect to Shuster's effort to rely upon that Consent Order.


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 DFS, the DFS may have required that Shuster and other policy holders "affirmatively opt in" to

 volatility-managed investment funds. (Compl. (Ex. 1), Ex. B, ¶ 9.) Her Complaint therefore

 alleges that AXA Equitable's purported misrepresentations and omissions to her and to the DFS

 made "a significant difference" to her ongoing investment decisions to purchase, sell, or hold

 accumulation units or to hold or surrender her policy in its entirety. Troice, 134 S. Ct. at 1066;

 accord Rabin v. JPMorgan Chase Bank, N.A., No. 06-C-5452, 2007 WL 2295795 (N.D. Ill. Aug.

 3, 2007) ("Plaintiffs maintain that in furtherance of its scheme, Defendants misrepresented and

 omitted material facts to the [SEC] on Defendants' Registration Statements. Had the SEC

 known the [facts], Plaintiffs contend that the SEC would have prevented the Registration

 Statements from becoming effective and Defendants would have been unable to sell shares of the

 Fund."); In Re LIBOR-Based Fin. Inst. Antitrust Litig., 935 F. Supp. 2d 666 (S.D.N.Y. 2013) (in

 addition to misrepresentations to plaintiffs, alleged "phony statements" to banking association

 "qualify as having been made 'in connection with' the purchase or sale of securities").

      Plaintiff's Action Also Alleges The Use Of "A Manipulative Or Deceptive Device Or
        Contrivance In Connection With The Purchase Or Sale Of A Covered Security"

         33.     Plaintiff's Complaint alleges that AXA Equitable's "implementation of the

 volatility-management strategy reduced the returns of the Affected Funds held by Plaintiff and

 the other members of the Class," and that the strategy "substantially reduced the benefits to

 which Plaintiff and other members of the Class are entitled under the terms of their contracts

 with AXA." (Compl. (Ex. 1), ¶¶ 29, 39.)




 12
      Fed. R. Civ. P. 10(c) ("A copy of a written instrument that is an exhibit to a pleading is a part
      of the pleading for all purposes."). The rule is the same in the New Jersey state court in
      which Plaintiff initially commenced this action. N.J. Rule 1:4-3 ("A copy of a document
      which is an exhibit to a pleading is a part thereof.").


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        34.     The Consent Order on which Plaintiff relies and has made part of her Complaint

 further alleges that AXA Equitable made filings with the DFS regarding the volatility

 management strategy that "had the effect of misleading the Department regarding the scope and

 potential effects" of that strategy. (Compl. (Ex. 1), Ex. B, ¶ 8.)

        35.     Claims such as this one asserting self-interested manipulation or deception in

 connection with the purchase or sale of covered securities have been held to allege a

 "manipulative or deceptive device or contrivance" within the meaning of SLUSA, 15 U.S.C.

 § 78bb(f)(1)(B). See, e.g., Montoya v. N.Y. State United Teachers, 754 F. Supp. 2d 466, 473

 (E.D.N.Y. 2010) (denying motion to remand putative class action claim based on allegedly

 concealed conflict of interest: "Plaintiffs here allege the classic use of a manipulative or

 deceptive device, aimed here at increasing the payment of fees, rather than fulfillment of the duty

 to provide objective investment advice."); Felton v. Morgan Stanley Dean Witter & Co., 429 F.

 Supp. 2d 684, 694 (S.D.N.Y. 2006) (similarly; cited in Montoya); see also Dudek v. Prudential

 Sec., Inc., 295 F.3d 875, 880 (8th Cir. 2002) (similarly; "unlawful marketing of tax-deferred

 annuities, either by misrepresenting their suitability for tax-deferred retirement plans, or by

 failing to disclose their unsuitability for such accounts").

   THE PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

        36.     AXA Equitable was served with the summons and complaint in this action on

 December 2, 2014. (See Ex. 3 hereto.) Accordingly, pursuant to 28 U.S.C. § 1446(b), this

 Notice of Removal is filed within thirty days of service on any defendant and is timely. See

 Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 US. 344 (1999).

        37.     In accordance with 28 U.S.C. § 1446(d), promptly after filing this Notice of

 Removal in this Court, AXA Equitable will give written notice to Plaintiff and will file a true




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 copy of this Notice of Removal with the Clerk of the Superior Court of New Jersey, Law

 Division, Camden County.

        WHEREFORE, AXA Equitable respectfully removes this action from the Superior Court

 of New Jersey, Law Division, Camden County, to the United States District Court for the District

 of New Jersey, and the action is now properly before this District Court and all further

 proceedings shall take place before this Court.



 Dated: December 29, 2014                          Respectfully submitted,

                                                   SKADDEN, ARPS, SLATE,
                                                    MEAGHER & FLOM LLP
                                                   (A Delaware Limited Liability Partnership)

                                                   By: s/ Andrew Muscato
                                                       Andrew Muscato
                                                       (Andrew.Muscato@skadden.com)

                                                   Of Counsel:

                                                   Jay B. Kasner
                                                   (Jay.Kasner@skadden.com)
                                                   Kurt Wm. Hemr
                                                   (Kurt.Hemr@skadden.com)
                                                   SKADDEN, ARPS, SLATE,
                                                      MEAGHER & FLOM LLP
                                                   Four Times Square
                                                   New York, New York 10036
                                                   Telephone: (212) 735-3000
                                                   Facsimile: (212) 735-2000

                                                   Attorneys for Defendant AXA Equitable
                                                      Life Insurance Company




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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        Pursuant to Local Civil Rule 11.2, we certify that the claims asserted in the above action

 implicate the same threshold legal issues as claims asserted in Zweiman v. AXA Equitable Life

 Insurance Company, No. 14-cv-5012 (VSB)(DCF), in the United States District Court for the

 Southern District of New York. As such, AXA Equitable intends to move promptly pursuant to

 28 U.S.C. § 1404(a) for transfer of this action to the Southern District of New York.

                                                SKADDEN, ARPS, SLATE,
                                                 MEAGHER & FLOM LLP


                                                By: s/ Andrew Muscato
                                                    Andrew Muscato

                                                Attorney for Defendant AXA Equitable
                                                   Life Insurance Company




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 29, 2014, a copy of the foregoing Notice of Removal to

 the United States District Court for the District of New Jersey was served upon counsel for

 Plaintiffs, by hand delivery, addressed as follows:

        Sung-Min Lee
        Barbara J. Hart
        David C. Harrison
        LOWEY DANNENBERG COHEN & HART, P.C.
        One North Broadway, Suite 509
        White Plains, NY 10601

        Attorneys for Plaintiff


                                                        s/ Andrew Muscato
                                                          Andrew Muscato


 Dated: December 29, 2014




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